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                                         October 1, 2020



VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Plaintiff writes in response to Defendant’s letter dated September 30, 2020, seeking
clarification from the Court regarding Doe 1 and Doe 2’s communication to the Court. ECF No.
1123. As a preliminary matter, although Defendant did not propose a one-week extension of time
to object to the unsealing of the next set of Doe 1 and Doe 2 materials when conferring with
Plaintiff, Plaintiff does not oppose that request provided that Plaintiff also receives a one-week
extension to respond to Doe 1 and Doe 2’s objection to unsealing.

       As background, on May 15, 2020, Plaintiff served Doe 1 and Doe 2 with a Non-Party
Notice by first class certified mail pursuant to the Protocol. ECF Nos. 1054, 1055. Neither Doe
1 nor Doe 2 requested Excerpts under the Protocol, the Original Parties submitted their own briefs,
and the Court ruled that the first five motions, including portions of those documents mentioning
Doe 1 or Doe 2, should be unsealed. ECF No. 1077. Defendant then contended that she had
obtained a “new address” for Doe 1, and the Court ordered that Doe 1 be provided with a second
Non-Party Notice at his new address. ECF Nos. at 1100 at 2–3, 1107 at 2.

       On September 25, 2020, Doe 1 and Doe 2 sent an email to the Original Parties and the
Court. In that email, Doe 1 and Doe 2: (1) stated that Doe 1 and Doe 2 did not object to unsealing
documents, (2) objected to the unsealing of their names out of respect for their “privacy,” and (3)
requested excerpts for their “review.” They also provided Doe 1’s current address—the same




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address to which Plaintiff originally mailed the Non-Party Notice on May 15, 2020, and not a “new
address.”1

         Plaintiff’s position is that when Doe 1 and Doe 2 emailed the Court, they filed their
objection to unsealing, and the Original Parties therefore have 7 days to respond to that objection
or to file their own objection to unsealing the five motions at issue pursuant to the Protocol. ECF
No. 1109 ¶¶ 2(d), (e). The scope of Doe 1 and Doe 2’s objection is clear—they do not object to
the unsealing of documents that contain their statements or testimony in this matter, but they object
to the release of their names for privacy concerns. Doe 1 and Doe 2 chose to make that limited
objection prior to receiving Excerpts, and although Plaintiff will happily send them Excerpts so
they have prior access to documents that may be released, they should not receive a second
opportunity to object thereafter.

        Allowing Non-Parties multiple opportunities to object to unsealing would set a precedent
that would exponentially delay this process. The same is true of allowing an Original Party to
unilaterally decide that a Non-Party did not understand the Non-Party Notice or that the Non-Party
should get another opportunity to object because their first objection was not good enough or
specific enough. Although Plaintiff is sensitive to the fact that Doe 1 and Doe 2 are proceeding
pro se, their communication indicates that they know the subject-matter of the documents that
mention them, for example testimony in this case, and formulated their objection based on that
understanding. Accordingly, Plaintiff seeks to move the Protocol forward, not delay it, but defers
to the Court in how it believes the Original Parties should proceed.

                                                Sincerely,

                                                /s/ Sigrid S. McCawley
                                                Sigrid S. McCawley, Esq.


        cc: Counsel of Record (via ECF)




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              Doe 1 and Doe 2 stated in their email that they did not receive the first Non-Party Notice
that Plaintiff sent to them in May, but according to that email Plaintiff sent the first Notice to the
correct address.
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